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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

RAYMOND BALL,

                          Petitioner,        No. 19 Civ. 5310 (RRM)(LB)

                     v.

ANGELENE STEVENSON,

                          Respondent.




                   STATE COURT RECORD




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